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6
                           UNITED STATES DISTRICT COURT
7                    WESTERN DISTRICT OF WASHINGTON AT SEATTLE

8
     UNITED STATES OF AMERICA,                    )   No. CR06-198RSL
                                                  )
9
                   Plaintiff,                     )   STIPULATED MOTION AND ORDER
                                                  )   CONTINUING PRETRIAL MOTIONS
10
            vs.                                   )   DEADLINE
                                                  )
11
     JOSE FRANCISCO SILVA-CHAVEZ,                 )
                                                  )
12                 Defendant.                     )
                                                  )
13
                                                  )
                                                  )
14                                           STIPULATION
15
            The United States, by and through Todd Greenberg, Assistant United States
16
     Attorney, and defendant Jose Francisco Silva-Chavez, by and through his attorney,
17   Anna M. Tolin, move to extend the pretrial motions deadline as to defendant Jose
18   Francisco Silva-Chavez only to December 29, 2006. This matter is scheduled for trial
19   on March 12, 2007. The requested extension is based on the parties’ ongoing efforts to

20   negotiate a resolution to this case.

21          Respectfully submitted this 1st day of December, 2006.

22
     ___/s/___________________________                 ___/s/___________________________
23
     Todd Greenberg                                    Anna M. Tolin
     Assistant United States Attorney                  Attorney for Jose F. Silva-Chavez
24   700 Stewart Street, Suite 5220                    2001 Western Avenue, Suite 200
     Seattle, WA 98101                                 Seattle, WA 98121
25   (206) 553-7970                                    (206) 812-5850
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     STIPULATED MOTION AND ORDER                       anna@annatolin.com  ANNA M. TOLIN
     CONTINUING PRETRIAL MOTIONS DEADLINE                                 Attorney at Law
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                                                                           (206) 812-5850
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1                                             ORDER
2           Based upon the foregoing stipulation of the parties, the pretrial motions deadlines

3    with regard to defendant Jose Francisco Silva-Chavez are continued as follows: The

4    deadline for filing pretrial motions shall be December 29, 2006; responses to pretrial

5    motions shall be due January 26, 2007; and any reply briefs shall be filed by February

6    9, 2007.

7
            DATED this 5th day of December, 2006.

8

9                                                    A
                                                     Robert S. Lasnik
                                                     United States District Judge
10

11
     Presented by:
12

13   ___/s/_________________________
     Todd A. Greenberg
14   Assistant United States Attorney
15

16   ____/s/________________________
     Anna M. Tolin, WSBA #22071
17   Attorney for Jose F. Silva-Chavez

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     STIPULATED MOTION AND ORDER                                           ANNA M. TOLIN
     CONTINUING PRETRIAL MOTIONS DEADLINE                                  Attorney at Law
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